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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

VOLKSWAGEN GROUP OF AMERICA,
INC.,
                                                     Case No. 19-cv-07978
               Plaintiff,
                                                     Judge Robert W. Gettleman
v.                                                   Magistrate Judge Jeffrey T. Gilbert
5STARAUTOPARTS2015, et al.,
               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Volkswagen

Group of America, Inc. (“Plaintiff”) hereby dismisses this action with prejudice as to the following

Defendants:

               Defendant Name                                           Line No.
               5starautoparts2015                                           1
               onypeiautoparts66                                           72

Dated this 13th day of March 2020.            Respectfully submitted,


                                              /s/ Allyson Martin____________
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                                              Justin R. Gaudio
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